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     ORDERED in the Southern District of Florida on October 20, 2016.




                                                              Robert A. Mark, Judge
                                                              United States Bankruptcy Court
_____________________________________________________________________________




                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION
                                  www.flsb.uscourts.gov

  In re:                                              Case No.: 16-15918-BKC-RAM

  ACE’S INDOOR SHOOTING RANGE &                       Chapter 11
  PRO GUN SHOP, INC,

           Debtor.                            /

        THIRD INTERIM ORDER (I) AUTHORIZING THE DEBTOR (A) TO USE
       CASH COLLATERAL AND (B) TO PROVIDE ADEQUATE PROTECTION IN
                        CONNECTION THEREWITH

           THIS MATTER came before the Court ex parte upon the motion filed by Ace’s Indoor

  Shooting Range & Pro Gun Shop, Inc. (the “Debtor”) seeking entry of an order further extending

  the Interim Period under this Court’s Second Interim Order (I) Authorizing the Debtor (A) to Use
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Cash Collateral and (B) to Provide Adequate Protection in Connection Therewith [ECF #79]

(the “Cash Collateral Order”) for 60 days [ECF # 97] (the “Motion”).1 The Court, finding that it

has jurisdiction over the matters raised in the Motion pursuant to 28 U.S.C. §§ 157 and 1334; that

this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); that the relief requested in the Motion

is in the best of interests of the Debtor, its estate and its creditors; that National Funding consents

to the relief provided for in this Order and National Funding’s interests in Cash Collateral are

adequately protected; that proper and adequate notice of the Motion and the hearing thereon has

been given and that no other or further notice is necessary; upon the record herein after due

deliberation thereon, finds that good and sufficient cause exists for the granting of the relief as set

forth herein. Accordingly, it is ORDERED:

       1.      The Motion is GRANTED.

       2.      Subject to the conditions and limitations set forth herein, the Debtor is authorized

to use Cash Collateral, as defined in 11 U.S.C. § 363(a) and in the Motion, to continue its

business operations and to pay its regular operating expenses in accordance with the Budget

attached to the Cash Collateral Order. The Debtor’s expenditures shall be limited to those

expenditures specifically authorized in the Budget, where amounts are provided on a line-by-line

basis. In addition, the Debtor shall not pay any prepetition debt except as may be specifically

authorized by this Court, upon proper notice, motion and hearing.

       3.      The Debtor is authorized to exceed the amounts set forth in the Budget by the sum

of 15% percent of the disbursements projected on a line item basis as may be required to prevent

immediate and irreparable harm. The Budget amounts may also be exceeded without further

Court order, upon written consent of National Funding. Payment of fees to the Office of the

United States Trustee under 28 U.S.C. § 1930 (“UST Fees”) may exceed the line item for UST
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       Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the Motion.


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Fees in the Budget without the need for further order of Court and shall not be considered an

unauthorized variance under the Budget.

       4.        In connection with the Debtor’s proposed use of Cash Collateral hereunder and in

order to provide the Lender with additional adequate protection pursuant to sections 361 and

363(e) of the Bankruptcy Code for the aggregate diminution of the Cash Collateral resulting

from the Debtor’s use thereof, (i) the Debtor shall be authorized to make interest-only

payments of $322.44 per month to National Funding during the Interim Period, and nothing in

this Order shall be construed as a waiver by the Debtor as to the treatment of National

Funding’s allowed claim under a plan of reorganization, and (ii) National Funding is granted

continuing and post-petition replacement liens on, and security interests in, all property of the

Debtor acquired or generated after the Petition Date pursuant to 11 U.S.C. § 361(2) as to which

National Funding may have had liens and security interests prior to the Petition Date with such

liens and security interests to have the same extent, validity, and priority as existed prior to the

Petition Date.

       5.        Notwithstanding any provision in the Budget for the payment of professional fees,

the Debtor shall be authorized to pay professionals retained by the Debtor under Sections 327

and/or 328 of the Bankruptcy Code upon entry of an Order of this Court approving an

application for compensation, and only after notice to creditors and parties in interest, and a

hearing thereon.

       6.        Nothing in this Order shall be construed to bind the estate or other parties in

interest with respect to the validity, perfection or amount of National Funding’s prepetition liens,

claims or debt or the waiver of claims against National Funding.




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         7.       This Order shall constitute findings of fact and conclusions of law and shall take

effect and be fully enforceable immediately upon execution thereof.

         8.       The Interim Period is further extended for a period of 60 days, through and

including December 23, 2016 (the “Interim Period”), but may be extended by written agreement

by National Funding and pursuant to further Order of this Court on an ex parte basis.

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SUBMITTED BY:

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Copy to: Attorney Petrie, who shall serve a copy of the signed order on all required parties and file with the court a
certificate of service conforming with Local Rule 2002-1(F).




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